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                          Exhibit A
Case 1:22-cv-00784-LMB-JFA Document 1-1 Filed 07/13/22 Page 2 of 22 PageID# 7


                                                                                           A*"

  VIRGINIA:

                                                                                                 fiM
                    IN THE CIRCUIT COURT FOR LOUDOUN COUNTY
                                                                                  \ %rTe


  PATRICK PETERSEN

  Plaintiff,

  V.                                                             CIVIL ACTION NO.


  DC MECHANICAU LLC,                                                    du A?'3^'!^
  DC MECHANICAL & MAINTENANCE, LLC
  JOEL BLOCKOWICZ
  GREG TUCKER


  Defendants.




                                        COMPLAINT


  The Plaintiff, Patrick Petersen petitions this Court to declare that the activities In which

  the Defendants, DC Mechanical, LLC, DC Mechanical & Maintenance, LLC, Joel

  Blockowicz and Greg Tucker ("Defendants") has engaged In constitute violates of the

  Virginia Codes §18.2-178, §18.2-186.3, §18.2-417, §32.1-314, §40.1-27-3, §40.1-29.2,

  §40.1-33.1, §40.1-28.7:4, §54.1-1106 from below. The Plaintiff prays that this Court grant

  the relief requested In this Complaint and states the following In support thereof:

                                JUmSTICTION AND VENUE


       1. The Circuit Court of Loudoun County has authority to entertain this action and to

          grant relief requested herein pursuant to Virginia Code §8.01-620, and §17.1-513.
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     2. Venue is preferred in this Court pursuant to Virginia Code §8.01-620 because

        some or all of the acts to be enjoined are, or were, being done in Loudoun County.

        Venue is permissible in this Court pursuant to Virginia Code §§8.01-262(3)and (4)

        because the Defendants regularly conduct substantial business activity in the

        Loudoun County and portions of the cause of action arose in Loudoun County.

     3. The Plaintiff herein requests that the Court grant a jury for trial in this matter.

                                           PARTIES


     4. The Plaintiff is Patrick Petersen, residing at 799 Ripplebrook Drive Culpeper, VA.

     5. The Defendants,

            a. DC Mechanical, LLC, is a Virginia partnership having its principal office at

               21641 Beaumeade Circle, Suite 315, Ashburn, VA 20147. DC Mechanical's

               Certificate of Authority to transact business In the Commonwealth was

               issued by the Virginia State Corporation Commission on July 31, 2012,

               under Entity No. T0506420.

            b. DC Mechanical & Maintenance, LLC, is a Virginia partnership having its

               principal office at 21641 Beaumeade Circle, Suite 315, Ashburn, VA 20147.

               DC Mechanical's Certificate of Authority to transact business in the

               Commonwealth was issued by the Virginia State Corporation Commission

               on January 19,2021, under Entity No. 11163757.

            c. Joel Blockowicz is a principal and the Managing Member/Partner of both

               DC Mechanical, LLC and DC Mechanical & Maintenance, LLC, residing at

               12821 Huntsman Way Potomac, MD 20854.
Case 1:22-cv-00784-LMB-JFA Document 1-1 Filed 07/13/22 Page 4 of 22 PageID# 9




           d. Greg Tucker is a principal and Member/Partner of both DC Mechanical, LLC

                  and DC Mechanical & Maintenance, LLC, residing at 11215 Valley View

                  Avenue Kensington, MD 20895.

                                           FACTS


     6. The Defendants have been operating since January 2021 as a Virginia Class A

        Contractor, in the Commonwealth of Virginia, State of Maryland and District of

        Columbia.

     7. The Defendants have operated DC Mechanical, LLC after the purchase through

        DC Mechanical & Maintenance, LLC without updating proper credit accounts, while

        spending tens of thousands on another signatory's account.

     8. The Defendants knowingly and willfully operated a business in the Commonwealth

        of Virginia without the means or willingness to file as a Class A Contractor.

     9. The Defendants submitted Certified Pay Applications to Building Owner's and

        General Contractors with certain vendors and subcontractors to be paid as set

        forth in those applications and notarized by Joel Blockowicz as the Managing

        Member.

     10.The Defendants utilized credit accounts in a business name and signatory name

        that was not their own, directing employees to use vendor credit accounts with

        direct knowledge of this infraction without resolution.

     11.The Defendants willfully and knowingly contacted the Plaintiffs business contacts,

        vendors and subcontractors via phone calls and emails with Slanderous and Libel

        intent.
Case 1:22-cv-00784-LMB-JFA Document 1-1 Filed 07/13/22 Page 5 of 22 PageID# 10




     12.The Defendants willfully and knowingly contacted General Contractor's,

        Subcontractors and Vendors via phone calls and emails with the sole intent of

        keeping the Plaintifffrom working in the Construction Industry.

     13.The Defendants continuously entered into contracts with Payment Terms without

        the intent of paying or keeping said terms in various contracts.

     14.The Defendants had employees working over 80-hour weeks for months without

        resolution, payment or rectifying the causes.

     15.The Defendants fraudulently represented the payroll source had a faulty portal,

        prompting the Plaintiff to misrepresent to the employees the reason for unpaid

        paychecks.

     16.The Defendant retaliated against the Plaintifffor bringing forward the unlawful, and

        unethical practices that are cited within this complaint by termination of

        employment to the Plaintiff.

     17.The Defendants discriminatory practices of isolating the Plaintiff to the only

        employee knowledgeable of the unlawful practices, before the Plaintiff brought

        attention in numerous meetings held with Joel Blockowicz, Greg Tucker, Rebecca

        Martin, and additional management staff.

     18.The Defendants without prompt or authority, sent out personal identifying

        information about the Plaintiffs finances, email address, birthday, and phone

        number.

     19.The Defendants continuously were asked to put their names on the Class A license

        application with the Plaintiff but were reluctant to put their names on anything with

        DPOR.
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                                   CAUSES OF ACTION

     COUNT I - OBTAINING MONEY OR SIGNATURE. ETC. BY FALSE PRETENSE

     20.The Plaintiff will show the Court proof through documents, testimony, and

        subpoenas that the Defendants obtained credit with industry vendors, spending

        tens of thousands, through false pretense and without the intent to rectify the

        matter. Prompting the Plaintiff to be a third-party accomplice without knowledge of

        the unlawful act.


                               COUNT II - iOENTITY THEFT


     21.The Plaintiff will show the Court proof through documents, testimony, and

        subpoenas that the Defendants utilized an unknowing individual's personal

        information and signatory to obtain and have credit extended with industry

        vendors,spending tens of thousands,through false pretense and without the intent

        to rectify the matter. Prompting the Plaintiff to be a third-party accomplice without

        knowledge of the unlawful act.

                                  COUNT 111 - SLANDER


     22.The Plaintiff will show the Court proof through documents, testimony, and

        subpoenas that the Defendants utilized emails and phones calls to slander and

        libel the Plaintiffs good name in the construction industry. The Plaintiff will show

        where unnecessary, defaming, and derogatory emails were sent to General

        Contractors, Onwers and Employees with slanderous and untrue information by

        the Defendants. The Plaintiff will show where unnecessary, defaming, and

        derogatory phone calls were made to General Contractors, Onwers and

        Employees with slanderous and untrue information by the Defendants. The Plaintiff

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        will show where the Defendants contacted potential employees, past employees,

        and Industry colleagues of the Plaintiff to defame and slander his good Industry

        name, while all the while attempting to profit and gain on these slanderous actions.

   COUNT IV - FALSE STATEMENT OR REPRESENTATION IN APPLICATIONS FOR

          PAYMENT OR FOR USE IN DETERMINING RIGHTS TO PAYMENT:


                               CONCEALMENT OF FACTS


     23.The Plaintiff will show the Court proof through documents, testimony, and

        subpoenas that the Defendants continued to falsify payment applications to

        Building Owners, General Contractors and Government Agencies on payments

        made to vendors and subcontractors while all the while certifying and notarizing

        said pay applications with the Managing Members, Joel Blockowicz signature, and

        the Member's, Greg Tucker, assistant willingly notarizing said forms. The Plaintiff

        will show where the Defendants up until May 25, 2022, had still outstanding debts

        that had be shown to be paid on certified, notarized pay applications to vendors

        and subcontractors, with a portion being handed "bad checks" without resolve, bad

        Information without back up, and some as old as 120(one hundred twenty) days.

        The Plaintiff will show proof through documents, testimony, and subpoenas that

        the Defendants had the Plaintiff use his Industry name to keep accounts open and

        In good standing while all the while not paying the appropriate vendors and

        subcontractors listed, cited, signed and notarized within the Pay Applications.

    COUNT V - PREVENTING EMPLOYMENT BY OTHERS OF FORMER EMPLOYEE


     24.The Plaintiff will show the Court proof through documents, testimony, and

        subpoenas that the Defendants were actively In a campaign to keep the Plaintiff

                                             6
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        from working in the Construction Industry furthermore. The Plaintiff will show the

        Court proof that the Managing Member, Joel Blockowicz, and the HR/Accounting

        Manager, Rebecca Martin actively contacted businesses and executives

        slandering and defaming the Plaintiffs name in an effort to hide the unlawful acts,

        profit and gain from his demise by bringing on his clients and contacts and to finally

        keep the Plaintiff from working in the Construction Industry as he has for the past

        20(twenty) years.

   COUNT VI - INVESTIGATIONS OF EMPLOYERS FOR NONPAYMENT OF WAGES


     25.The Plaintiff will show the Court proof through documents, testimony and

        subpoenas that the Defendants owe the unpaid wages, and bonuses as set forth

        within the Plaintiffs Offer Letter, signed and acknowledged by the Managing

        Member, Joel Blockowicz. The Plaintiff pleads that the Court investigate the

        Defendants Payroll discrepancies and unlawful practices under the Virgina Code

        and Federal Labor Laws.


                     COUNT VII - VIRGINIA OVERTIME WAGE ACT


     26.The Plaintiff will show the Court proof through documents, testimony, and

        subpoenas that the Defendants failed to pay the Plaintiff overtime wages as set

        forth In the Virginia Code §40.1-29.2(B.2). The Plaintiff will show and the Court

        Proof of 75-80 work weeks for all 14 months of employment through cell records,

        text message records, company emails, testimony, and subpoenas, tallying up to

        approximately 2,170(two thousand and seventy) hours of overtime worked.
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                     COUNT VIII - RETALIATORY ACTIONS PROHIBITED

     27.The Plaintiff will show the Court proof through documents, testimony, and

        subpoenas that the Defendants retaliated against the Plaintiff through email,

        phone call and slanderous actions, as well as defaming the good industry name

        of the Plaintiff throughout the Construction Industry.

      COUNT Vim - RELEASE OF EMPLOYEE'S PERSONAL IDENTIFYING INFO


     28.The Plaintiff will show the Court proof through documents, testimony, and

        subpoenas that the Defendants released personal identifying information to a

        mortgage company without prompt, subpoena or directly from the Plaintiff of the

        request of the mortgage company. Thus, action ultimately resulted in a home loan

        with Prosperity Mortgage that had already been approved by Unden/vriting and

        Scheduled to close on June 9, 2022,to be terminated and withdrawn. The Plaintiff

        will show where this not only impacted the personal information of the Plaintiff but

        additionally caused the Plaintiffs family, and children to have issues sleeping and

        required therapy to deal with the issue for the children after this deal was solidified

        and rectified by the Buyer, Seller, and Mortgage company. Thus, causing the

        Plaintiff and the Plaintiffs family finance, and emotional damages.

        COUNT X - LICENSING OF CERTAIN CONTRACTORS BY LOCALITIES


     29.The Plaintiff will show the Court proof through documents, testimony, and

        subpoenas that the Defendants operated for over a one-year period without the

        proper licensing to operate a Class A Contracting business within the

        Commonwealth of Virginia, State of Maryland, and District of Columbia, resulting

        in millions of dollars in contracts without taxation, and unlawfully completed work

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         in the plumbing and mechanical trades. The Plaintiff will show the Court proof

         through documents, testimony, and subpoenas that the Defendants were told on

         numerous occasions how to rectify this issue and how to refile the Class A status

         for the business, offering to have the Plaintiff test and be listed with the state as

         the "Designated Employee". The Plaintiff took the state test and was prepared to

         do as such, but the Defendants were reluctant to put their names onto anything

         binding, as will be shown again and again throughout these proceedings. Thus,

         actions by the Defendants will be shown to have caused irreparable damages to

         the Plaintiff's good industry name and credibility.

                                          DAMAGES


     COUNT I - OBTAINING MONEY OR SIGNATURE. ETC. BY FALSE PRETENSE


      30.The Plaintiff will be seeking a judgement in the amount of $10,000.00 for

         financial, professional, and emotional damages caused by Count I.

                                COUNT II ■ IDENTITY THEFT


      31.The Plaintiff will be seeking a judgement in the amount of $10,000.00 for

         financial, professional, and emotional damages caused by Count II.

                             COUNT III > SLANDER AND LIBEL


     32.The Plaintiff will be seeking a judgement in the amount of $100,000.00 for

         financial, professional, and emotional damages caused by Count III.
Case 1:22-cv-00784-LMB-JFA Document 1-1 Filed 07/13/22 Page 11 of 22 PageID# 16




    COUNT IV ■. FALSE STATEMENT OR REPRESENTATION IN APPLiCATIONS FOR

           PAYMENT OR FOR USE IN DETERMINING RIGHTS TO PAYMENT:

                                CONCEALMENT OF FACTS


      33. The Plaintiff will be seeking a judgement in the amount of $100,000.00 for

         financial, professional, and emotional damages caused by Count IV.

     COUNT V ■ PREVENTING EMPLOYMENT BY OTHERS OF FORMER EMPLOYEE


      34. The Plaintiff will be seeking a judgement in the amount of $750,000.00 for

         financial, professional, and emotional damages caused by Count V.

    COUNT Vi - INVESTIGATIONS OF EMPLOYERS FOR NONPAYMENT OF WAGES


      35.The Plaintiff will be seeking a judgement in the amount of $33,145.80 for

         financial, professional, and emotional damages caused by Count VI.

                      COUNT VII - VIRGINIA OVERTIME WAGE ACT


      36.The Plaintiff will be seeking a judgement in the amount of $272,361.00 for

         financial, professional, and emotional damages caused by Count VII.

                   COUNT VIII - RETALIATORY ACTIONS PROHIBITED


      37. The Plaintiff will be seeking a judgement in the amount of $10,000.00 for

         financial, professional, and emotional damages caused by Count VIII.

       COUNT Vllll > RELEASE OF EMPLOYEE'S PERSONAL IDENTIFYING INFO


      38. The Plaintiff will be seeking a judgement in the amount of $660,000.00 for

         financial, professional, and emotional damages caused by Count Vllll.




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         COUNT X - LICENSING OF CERTAIN CONTRACTORS BY LOCALITIES


      39.The Plaintiff will be seeking a judgement in the amount of $100,000.00 for

         financial, professional, and emotional damages caused by Count X.

   The Plaintiff is seeking a sum of damages in the set forth Causes of Actions in the

   amount of $2,045,506.80(Two Million Forty-Five Thousand Five Hundred Six Dollars

   and Eighty Cents). The Plaintiff is seeking the above set damages as well as any and all

   legal costs accrued through the proceedings and related to these Ten Counts.




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                                    PRAYER FOR RELIEF


  WHEREFORE, the Plaintiff, Patrick Petersen, prays that this Court enter a judgement

  ceasing the Defendants to continue to operate against the Virginia Codes set forth within
  this complaint, a judgement against the Defendants for the damages and wrongdoings

  set forth within this complaint against the Plaintiff.



                                                           PLAINTIFF,

                                                           PATRICK PETERSEN

                                                           By:




                                                12
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                                 CERTIFiCATE OF SERVICE


   I hereby certify that on this 14"^ day of June, 2022, a true copy of the foregoing Complaint

   was mailed via USPS Certified Mail to Defendants, DC Mechanical, LLC at 21641

   Beaumeade Circle, Suite 315, Ashburn, VA 20147; DC Mechanical & Maintenance, LLC

   at 21641 Beaumeade Circle, Suite 315, Ashburn, VA 20147; Joel Blockowicz at 12821

   Huntsman Way Potomac, MD 20854; Greg Tucker at 11215 Valley View Avenue

   Kensington, MD 20895; and James E,Autry, counsel for the Defendants at 4124 Leonard

   Drive Fairfax, VA 22030.




                                        Patrick Petersen




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      Case 1:22-cv-00784-LMB-JFA Document 1-1 Filed 07/13/22 Page 15 of 22 PageID# 20
      REQUEST FOR SUBPOENA DUCES TECUM(CIVIL CASE),$5.00 FEE ruic4:9 a
                                                                                   Civil Case No._ Cc .z-7 ■ S>z yy
                                                      Loudoun County Circuit Court
                                                 18 East Market Street, Leesburg VA 20176
                                          Mailing Address: P.O. Box 550, Leesburg VA 20178
                                                                Phone: 703-771-5644

                                                                                                                                                        -
                              I'CIUit.pIS I-CICIOCII




  CUSTODIAN:(may attach list)                                                     REQUESTING PARTY:

                              Joel Biockowicz                                                               Patrick Petersen
                                     NAME                                                                            NAME

                            12821 Huntsman Way                                                          799 RIppIebrook Drive
                               STREET ADDRESS                                                                      ADDRESS

                                                                                                            Culpeper.VA 22701

   Potomac                           MD                            20854                                      571-364-2151
  aiY                               STATE                          ZIP CODE                                    PHONE NUMBER


  TO BE SERVED BY:
 (SHERIFF SERVICE IN VIRGINIA IS S12)

  ITEMS TO BE PRODUCED (list below or provide attachment):

  Cell Phone and Text Records for 301-518-3275 from March 2021 - 2022 Current




      Documents are to be delivered □on I ^ Ibv:
                     Augusts, 2022                     at    12PM _AM/PM to the Clerk's Office of this court at the above address.
                 U                                     at               AM/PM to:




       Tangible things are to be:

                      Made available to the REQUESTING PARTY at                                                                                for
                                                                   to permit such party or someone acting in his behalf to inspect
                      and copy, test or sample such tangible things in your possession, custody or control.

                 Sf Delivered to this court at the above address on               August 5, 2022              at 12PM AM/PM.

OTHER TERMS:




I f/1 You are further requested to appear in person witj^ the ijl^s requested.
         ^**VOU MUST SUBMIT 2 COPIES 0FJ7BIS REQUEST & ANY ATTACHMENTS. THANK YOU.********


REQUESTED BY: X_                                                                                                   DATE: AtflOD H , 2022
NOTICE: Upon receipt of the subpoenaed documents, the reqd^ting party must, if requested, provide true and full copies of those documents to any other
party or to the attorney for any other party, provided the other party or attorney for the other party pays the reasonable cost of copying or reproducing those
documents. This does not apply when the subpoenaed documents are returnable to and maintained by the Clerk of the Court in which the action is pending.
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      Case 1:22-cv-00784-LMB-JFA Document 1-1 Filed 07/13/22 Page 16 of 22 PageID# 21
      REQUEST FOR SUBPOENA DUCES TECUM(CIVIL CASE),$5.00 FEE ruic 4:9 a
                                                                                    Civil Case No.

                                                     Loudoun County Circuit Court
                                                18 East Market Street, Leesburg VA 20176
                                        Mailing Address: P.O. Box 550, Leesburg VA 20178
                                                                Phone: 703-771-5644

                             Patrick Petersen                                  V.
                                                                                     OC Mechanical, LLC; DC Mechanical & Maintenance, LLC;Joel Blodcowicz: Greg Tucker




 CUSTODIAN:(may attach list)                                                        REQUESTING PARTY:

                               Greg Tucker                                                                     Patrick Petersen
                                    NAME                                                                                NAME

                         11215 Valley View Avenue                                                          799 Ripplebrook Drive
                              STREET ADDRESS                                                                           ADDRESS

                                                                                                              Culpeper.VA 22701

  Kensington                        MD                             20895                                         571-364-2151
  CITY                             STATE                           ZIP CODE                                       PHONE NUMBER



  TO BE SERVED BY:
 (SHERIFF SERVICE IN VIRGINIA IS S12)

  ITEMS TO BE PRODUCED Oist below or provide attachment):

  Cell Phone and Text Records for 202-236-3111 from March 2021 - 2022 Current




      Documents are to be delivered □ on I ^ Ibv:
                   August 5. 2022                    at     12PM _AM/PM to the Clerk's Office of this court at the above address.
            U                                       at                  AM/PM to;




       Tangible things are to be:

                   I Made available to the REQUESTING PARTY at                                                                                        for
                                                                to permit such party or someone acting in his behalf to inspect
                    and copy, test or sample such tangible things in your possession, custody or control.

                    Delivered to this court at the above address on                 August 5, 2022               at 12PM AM/PM.

OTHER TERMS:




11^1 You are further requested to appear in person wjlh tl^ items requested.
            ^YOU MUST SUBMIT 2 COPIES                                 REQUEST & ANY ATTACHMENTS. THANK YOU.********


REQUESTED BY: X.                                                                                                       DATE:                       1H2022
NOTICE: Upon receipt of the subpoenaed documents, the requesting party must, if requested, provide true and full copies of those documents to any other
party or to the attorney for any other party, provided the other party or attorney for the other party pays the reasonable cost of copying or reproducing those
documents. This does not apply when the subpoenaed documents are returnable to and maintained by the Clerk of the Court in which the action is pending.
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    Case 1:22-cv-00784-LMB-JFA Document 1-1 Filed 07/13/22 Page 17 of 22 PageID# 22
    REQUEST FOR SUBPOENA DUCES TECUM(CIVIL CASE),$5.00 FEE rui.49a
                                                                                     CivU Case No.                           2.7.-
                                                     Loudoun County Circuit Court
                                                18 East Market Street, Leesburg VA 20176
                                          Mailing Address: P.O. Box 550, Leesburg VA 20178
                                                                Phone: 703-771-5644

                             Patrick Petersen                                  V.
                                                                                     DC Mechuticai,LLC:00 Mechsnlcsl & Msintenanoe. LLC;Joel Blockowicz; Grag Tucker




  CUSTODIAN:(may attach list)                                                       REQUESTING PARTY:

                             Rebecca Martin                                                                   Patrick Petersen
                                    NAME                                                                               NAME

                         21641 Beaumeade Circle                                                           799 RIppiebrook Drive
                               STREET ADDRESS                                                                         ADDRESS

                                 Suite 315                                                                    Cuipeper,VA 22701

   Ashbum                            VA                            20147                                        571-364-2151
   CITY                             STATE                          ZIP CODE                                      PHONE NUMBER


  TO BE SERVED BY: Loudoun County Sheriffs Office
  (SHERIFF SERVICE IN VIRGINIA IS $12)

  ITEMS TO BE PRODUCED (list below or provide attachment):

   Cell Phone and Text Records for 571-241-5957 from June 2021 - 2022 Current




    Documents are to be delivered I ion I^Ibv:
                  August 5,2022                      at     12PM _AM/PM to the Clerk's Office ofthis court at the above address.
              U                                      at                 AM/PM to:




  K Tangible things are to be:
               r I Made available to the REQUESTING PARTY at                                                                                        for
                                                                         to permit such party or someone acting in his behalfto inspect
                    and copy,test or sample such tangible things in your possession,custody or control.

                    Delivered to this court at the above address on                 August 5, 2022              at 12PM aM/PM.


OTHER TERMS:




Hyou are further requested to appear in person with the ite^ requeifted.
            *YOU MUST SUBMIT 2 COPIES OF TMtl^RJK                                   T/& ANY ATTACHMENTS. THANK YOU.********


REQUESTED BY: X_                                                                                                     DATE      ■ AvlMg.JtL2022
NOTICE: Upon receipt of the subpoenaed documents, the requesting party must, if requested, provide true and full copies of those documents to any other
party or to the attorney for any other party, provided the other party or attorney for the other party pays the reasonable cost of copying or reproducing those
documents. This does not apply when the subpoenaed documents are returnable to and maintained by the Clerk of the Court in which the action is pending.
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       Case 1:22-cv-00784-LMB-JFA Document 1-1 Filed 07/13/22 Page 18 of 22 PageID# 23
       REiQUEST FOR SUBPOENA DUCES TECUM(CIVIL CASE),$5.00 FEE Ruie4:9 a
                                                                                           Civil Case No.

                                                     Loudoun County Circuit Court
                                                18 East Market Street, Leesburg VA 20176
                                            Mailing Address: P.O. Box 550, Leesburg VA 20178
                                                                     Phone: 703-771-5644

                              Patrick Petersen                                       V.
                                                                                           OC Mechsittcal. U.C; OC Mechanical & Maintenance. LLC; Joel Btodcowicz: Greg Tucker




  CUSTODIAN:(may attach list)                                                             REQUESTING PARTY:

       DC Mechanical, LLC; DC Mechanical & Maintenance. LLC                                                           Patrick Petersen
                                       NAME                                                                                    NAME

                           21641 Beaumeade Circle                                                                799 Ripplebrook Drive
                                STREET ADDRESS                                                                               ADDRESS

                                   Suite 315                                                                         Cuipeper.VA 22701

   Ashburn                             VA                               20147                                           571-364-2151
   CITY                               STATE                             ZIP CODE                                         PHONE NU.V1BER



  TO BE SERVED BY: Loudoun County Sheriffs Office
 (SHERIFF SERVICE IN VIRGINIA IS $12)

  ITEMS TO BE PRODUCED (list below or provide attachment):
   Outlook Re Data for Joe1.8lockowlcz@dc.mech.cotn. Patrlck.Pctersett@d&mech.com; Rebecca.Martin@dc.rRech.coin: Kenneth.Johnson@dc.mech.com;invoices@dcmech.oom


   Sage Print Outs: Project Reports 2021-22; AR/AP Monthly Reports; Payroll Reports for all Projects 2021-2022

   Rnanclal Reports for Bonding Co.; Tax Filings 2021 & 2022; Dues/Benefits Payments to Local 602 & Local 5 Unio^ for 2021 & 2^
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       Documents are to be delivered □on I ^ Ibv:                                                                                        m
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                                                                                                                                                                      nP:
             ^ August 5, 2022                            at      12PM         AM/PM to the Clerk's Office of this court a                  th^€p^ addxess. IZT
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              U                                         at                    AM/PM to:
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        Tangible things are to be:

                     Made available to the REQUESTING PARTY at                                                                                               for
                                                                   to permit such party or someone acting in his behalf to inspect
                      and copy, test or sample such tangible things in your possession, custody or control.

                ^ Delivered to this court at the above address on                         August 5, 2022                at 12PM aM/PM.

OTHER TERMS;




r^You are further requested to appear in person with tfa^ iterls requested.
********YOU MUST SUBMIT 2 COPIES                                                   JEST & ANY ATTACHMENTS. THANK YOU.********


REQUESTED BY: X_                                                                                                              DATE:                            2022
NOTICE: Upon receipt of the subpoenaed documents, me requesting party must, if requested, provide true and full copies of those documents to any other
party or to the attorney for any other party, provided the other party or attorney for the other party pays the reasonable cost of copying or reproducing those
documents. This docs not apply when the subpoenaed documents are returnable to and maintained by the Clerk of the Court in which the action is pending.
tf A       c o nt   4i«y
Case 1:22-cv-00784-LMB-JFA Document 1-1 Filed 07/13/22 Page 19 of 22 PageID# 24
Case 1:22-cv-00784-LMB-JFA Document 1-1 Filed 07/13/22 Page 20 of 22 PageID# 25
Case 1:22-cv-00784-LMB-JFA Document 1-1 Filed 07/13/22 Page 21 of 22 PageID# 26
Case 1:22-cv-00784-LMB-JFA Document 1-1 Filed 07/13/22 Page 22 of 22 PageID# 27
